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                            UNITED STATES DISTRICT COURT

                             DISTRICT OF NEW HAMPSHIRE                             Lr i".




TRAVIS JARED PARK,Pro Se

       Plaintiff


V.



SCOTT BAILEY (in his official capacity
     as Special Agent of the FBI),                 Case No
CHRISTOPHER WAGNER (in his official
     capacity as head of the State of New
     Hampshire Police), and
STEVEN RUSSO (in his official capacity
     as head of the City of Keene Police)

       Defendants




                             COMPLAINT LHSIDER RULE 41(g)

       (1) Come now the plaintiff, TRAVIS JARED PARK,appearing pro se and residing at

13918 E Mississippi Ave #152 in Aurora, Colorado, and does bring this complaint under the

Federal Rules of Criminal Procedure Rule 41(g) against the following defendants:



       (2) Special Agent SCOTT BAILEY,in his official capacity as Special Agent ofthe

 Federal Bureau of Investigation, at 201 Maple Street in Chelsea, Massachusetts,

       (3) Colonel CHRISTOPHER WAGNER,in his official capacity as head ofthe New

 Hampshire State Police, at 33 Hazen Drive in Concord, New Hampshire, and

       (4) Police Chief STEVEN RUSSO,in his official capacity as head ofthe City of Keene
Police Department, at 400 Marlboro Street in Keene,New Hampshire.



      (5) On March 20,2016,the defendants did unlawfully search and seize property

belonging to the plaintiff from the second-story south-side bedroom of 73 Leverett Street in

Keene, New Hampshire (hereinafter called "plaintiffs property").



                                  JURISDICTION OF THE COURT


      (6) Rule 41(g)of the Federal Rules of Criminal Procedure states:

              Motion to Return Property. A person aggrieved by an unlawful search and seizure
              ofproperty or by the deprivation ofproperty may movefor the property's return.
              The motion must befiled in the district where the property was seized. The court
              must receive evidence on anyfactual issue necessary to decide the motion. Ifit
              grants the motion, the court must return the property to the movant, but may
              impose reasonable conditions to protect access to the property and its use in later
              proceedings.

As the unlawful seizure occurred in New Hampshire,the court has jurisdiction over this matter

under Rule 41(g)ofthe Federal Rules of Criminal Procedure.



                                      CASE SUMMARY


      (7) On or about February 20, 2015, the defendants shut down a child pornography

website named "Playpen" and obtained a search warrant(warrant number 1:15-SW-89, signed

by Magistrate Judge Theresa Buchanan in the Eastern District of Virginia) to deploy a network

investigative technique("NIT")to reveal the IP addresses of computers attempting to access the

"Playpen" website in violation of 18 USC 2252. According to the defendants in a subsequent

search warrant affidavit, one ofthose IP addresses traced back to 73 Leverett Street in Keene,

New Hampshire.
       (8) On November 1, 2015, the innocent plaintiff, completely unaware of the ongoing

18 use 2252 investigation into 73 Leverett Street, signed a lease for the second-story south-side

bedroom at 73 Leverett Street in Keene, New Hampshire.

       (9) On March 20, 2016, the defendants executed search warrant 16-MJ-36-01-06, signed

 by Magistrate Judge Daniel Lynch, against the plaintiff at 73 Leverett Street. When the

defendants arrived at 0600 hours at the plaintiffs residence, the plaintiff recognized the

defendants as heavily armed gunmen approaching the house. The plaintiff promptly removed all

clothing to avoid being shot by the defendants. The plaintiff greeted the defendants while nude

and on video camera, and the defendants proceeded to search the plaintiffs room and seize the

plaintiffs property.



                                       LEGAL ANALYSIS


       (10)    The defendants' search warrant violates Rule 41(b)of the Federal Rules of

 Criminal Procedure. Under the law in effect at the time the defendants applied for their search

warrant, federal magistrate judges could not authorize searches outside their territorial

jurisdiction. Rule 41(b) was changed on December 1, 2016,to specifically allow magistrate

judges to authorize this type ofsearch. Magistrate Judge Buchanan exceeded her lawful

authority over the Eastern District of Virginia on February 20,2015 under Rule 41(b)by issuing

a search warrant for a computer located in New Hampshire. Without a valid search warrant, the

defendants' actions constitute an unlawful search and seizure of the plaintiffs property under the

4th Amendment.


       (11)    Even if the defendants' warrant were valid, there is still the issue of the plaintiffs
innocence to overcome. The plaintiff can produce ample evidence that he was not living at 73

Leverett Street when the "Playpen" website was accessed. The defendants have had over three

years to examine the plaintiffs property and they can produce no evidence that the plaintiff or

his property were involved in a violation of 18 USC 2252. That is because the plaintiff is wholly

innocent of the crime they are investigating. The plaintiff submits to the court that the

defendants know, or should reasonably know from their forensic examination of the plaintiffs

property, that the plaintiff is innocent and has no nexus to their 18 USC 2252 investigation. It is

the plaintiffs belief that the defendants' continued holding ofthe plaintiffs property without a

valid search warrant and the defendants' continued refusal to return the plaintiffs property

despite the plaintiff being innocent, is done for the purpose of harassing and intimidating the

plaintiff, rather than serving a legitimate investigative purpose.



                                        RELIEF SOUGHT

       The plaintiff seeks relieffrom this court in the form of a judicial order declaring the

defendants' search warrant to be technically defective under Rule 41(b)ofthe Federal Rules of

Criminal Procedure, ordering the return ofthe plaintiffs unlawfully seized property to 73

Leverett Street in Keene, New Hampshire, and the turning over to the plaintiff all forensic copies

and forensic analysis that may have been made ofthe plaintiffs property by the defendants.

This has been a terrifying ordeal for the plaintiff, who is wholly innocent in this matter. He was

robbed at gunpoint by the defendants with an invalid search warrant- which at its core is a piece

of paper authorizing agents of the state to commit armed robbery in the pursuit ofjustice. It is

time to bring this long, legal charade to an end and return the plaintiffs property to him.
Signed,




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